      Case 3:19-bk-30822            Doc 179 Filed 03/08/20 Entered 03/09/20 01:18:55                       Desc
                                   Imaged Certificate of Notice Page 1 of 3
Form a0ntrans
(Rev. 6/19)


                                         United States Bankruptcy Court
                                            Southern District of Ohio
                                              120 West Third Street
                                            Dayton, OH 45402−1819


In      Tagnetics Inc.                                      Case No.: 3:19−bk−30822
Re:
           Debtor(s)
                                                            Chapter: 7


SSN/TAX ID:                                                 Judge: Guy R Humphrey
     20−0173720




                            NOTICE OF FILING OF TRANSCRIPT
                AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION

A transcript of the proceeding held on January 28, 2020, was filed on March 6, 2020. Pursuant to Bankruptcy
Rule 9037 the following items may be redacted on the request of a party or nonparty filer:

1.    the last four digits of the social security number and taxpayer− identification number;
2.    the year of an individual's birth;
3.    the names of minors, except for a minor's initials; and
4.    financial account numbers, except the last four digits.
A request to redact any other information must be sought through a motion filed with the court and served upon
all affected parties in accordance with the Bankruptcy Rules of Procedure and Local Rules of this bankruptcy
court.

The following redaction deadlines apply to this transcript:

The parties have until March 13, 2020 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is March 27, 2020.

If a request for redaction is filed, the redacted transcript is due April 6, 2020.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of
the restriction period, which is June 4, 2020 unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber Legal Electronic
Recording, Inc 216−881−8000 or you may view the document at the clerk's office public terminal.

No unauthorized weapons are permitted on the court's premises. Cellular phones and portable electronic
devices are permitted provided that they are not used to take photographs or record any court
proceedings unless otherwise authorized by the court.

Dated: March 6, 2020


                                                            FOR THE COURT:
                                                            Richard B. Jones
                                                            Clerk, U.S. Bankruptcy Court
     Case 3:19-bk-30822           Doc 179 Filed 03/08/20 Entered 03/09/20 01:18:55                           Desc
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In addition to the individuals who received this Notice via the Notice of Electronic Filing, the following
individuals were served by regular US Mail on: March 6, 2020.

Kenneth Kayser
PO Box 115
Catawba, VA 24070

Ronald E Earley
6429 Winding Tree Dr
New Carlisle OH 45344
Jonathan Hager
842 Paint Bank Road
Salem VA 24153

Stephen B Stern
238 West Street
Annapolis MD 21401
Robert R Kracht
101 West Prospect Ave
Suite 1800
Cleveland OH 44115



                                         By: Melissa Chipman, Deputy Clerk
           Case 3:19-bk-30822             Doc 179 Filed 03/08/20 Entered 03/09/20 01:18:55                                 Desc
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                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 19-30822-grh
Tagnetics Inc.                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-3                  User: chipmanm                     Page 1 of 1                          Date Rcvd: Mar 06, 2020
                                      Form ID: pdf02                     Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 08, 2020.
db              Tagnetics Inc.,    3415 RT 36,   Piqua, OH 45356
aty            +Stephen B. Stern,    238 West Street,    Annapolis, MD 21401-3424
ptcrd          +Jonathan Hager,    842 Paint Bank Road,    Salem, VA 24153-9242
ptcrd          +Kenneth W Kayser,    PO Box 115,   Catawba, VA 24070-0115
               +Robert Kracht,    101 West Prospect Ave,    Suite 1800,   Cleveland, OH 44115-1064
ptcrd          +Ronald E. Earley,    6429 Winding Tree Dr,    New Carlisle, OH 45344-9168
               +Stephen Stern,    238 West Street,    Annapolis, MD 21401-3424

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 08, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 6, 2020 at the address(es) listed below:
              Asst US Trustee (Day)    USTPRegion09.CB.ECF@usdoj.gov
              Bryan K Stewart   on behalf of Creditor    Piqua Troy Investments, LLC bryan@stewartlawyers.com,
               chad@stewartlawyers.com
              Christopher L Wesner   on behalf of Petitioning Creditor    Kayser Ventures Ltd
               chriswesnerlaw@gmail.com, ecf.cwlo@gmail.com;rtanner@millerluring.com
              Christopher L Wesner   on behalf of Petitioning Creditor    S-Tek Inc. chriswesnerlaw@gmail.com,
               ecf.cwlo@gmail.com;rtanner@millerluring.com
              Jeremy Shane Flannery    on behalf of U.S. Trustee   Asst US Trustee (Day)
               Jeremy.S.Flannery@usdoj.gov
                                                                                              TOTAL: 5
